         Case 4:20-cv-01320-Y Document 1 Filed 12/10/20               Page 1 of 6 PageID 1



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

 MARIA BARRERA DE PAIZ                                §
                                                      §           CIVIL ACTION NO.
 VS.                                                  §           _________________
                                                      §           JURY
 WAL-MART STORES, INC.                                §


                                        NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

          Defendant Walmart Inc. formerly known as Wal-Mart Stores, Inc. (incorrectly sued, proper

entity is Wal-Mart Stores Texas, LLC) (“Wal-Mart”) files this Notice of Removal pursuant to 28

U.S.C. §§ 1441 and 1332.

                                        I.     INTRODUCTION

          1.     Pursuant to 28 U.S.C. § 1441, et seq., this civil action is removed from the 348th

District Court of Tarrant County, Texas, where this matter was pending under Cause No. 348-321220-

20 in a matter styled Maria Barrera De Paiz vs. Wal-Mart Stores, Inc. (the “State Court Action”).

                                  II.        NATURE OF THE SUIT

          2.     This is a premises liability lawsuit alleging claims of personal injury resulting from

Defendant’s actions or inactions. Plaintiff’s Original Petition pp. 2-4.

          3.     Plaintiff Maria Barrera De Paiz alleges she suffered injuries when she allegedly

slipped on a food and/or liquid substance puddle of water on the ground inside the store. Id. at p.

2.

          4.     Plaintiff brought her lawsuit against Wal-Mart in the 348th District Court of Tarrant

County, Texas. See Plaintiff’s Original Petition p. 1.




NOTICE OF REMOVAL                                                                               PAGE 1
418888
         Case 4:20-cv-01320-Y Document 1 Filed 12/10/20                 Page 2 of 6 PageID 2



                              III.    TIMELINESS OF REMOVAL

          5.    Plaintiff commenced this lawsuit by filing her Original Petition on October 27,

2020. Defendant accepted service on November 13, 2020 through its agent, CT Corporation.

Thus, removal is timely.

                       IV.     BASIS FOR REMOVAL JURISDICTION

          6.    Removal is proper under 28 U.S.C. §§ 1441 and 1332 because there is complete

diversity of citizenship between Plaintiff and Defendant, and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

          7.    Plaintiff is now and was at the time of the filing of this action a legal Texas resident

residing and domiciled in Fort Worth, Tarrant County, Texas. Plaintiff’s Original Petition p. 1.

Accordingly, for diversity purposes, Plaintiff is a citizen of Texas.

          8.    Plaintiff sued and served Wal-Mart Stores, Inc. Wal-Mart Stores, Inc. changed its

name to Walmart Inc. Walmart Inc. (formerly known as Wal-Mart Stores, Inc.) is a Delaware

Corporation with its principal place of business in Arkansas. However, the correct corporate

entity/Defendant is Wal-Mart Stores Texas, LLC. Wal-Mart Stores Texas, LLC is now and was

at the time of the filing of this action a Delaware Limited Liability Company with its principal

place of business in Arkansas. The citizenship of an LLC is the same as the citizenship of all its

members. Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1080 (5th Cir. 2008). Wal-Mart Real

Estate Business Trust is the sole member of Wal-Mart Stores Texas LLC. Wal-Mart Real Estate

Business Trust is a statutory business trust organized under the laws of Delaware with its principal

place of business in Arkansas. Wal-Mart Property Co. is the sole trustee of Wal-Mart Real Estate

Business Trust. Wal-Mart Property Co. is a Delaware corporation with its principal place of

business in Arkansas. Wal-Mart Stores East, LP is the sole owner of Wal-Mart Property Co. Wal-

Mart Stores East, LP is a Delaware Limited Partnership with its principal place of business in


NOTICE OF REMOVAL                                                                                PAGE 2
418888
         Case 4:20-cv-01320-Y Document 1 Filed 12/10/20                Page 3 of 6 PageID 3



Arkansas. WSE Management, LLC is the general partner, and WSE Investment, LLC is the limited

partner of Wal-Mart Stores East, LP. WSE Management, LLC and WSE Investment, LLC are

both Delaware Limited Liability Companies with their principal place of business in Arkansas.

The sole member of WSE Management, LLC and WSE Investment, LLC is Wal-Mart Stores East,

LLC. Wal-Mart Stores East, LLC is a limited liability company organized under the laws of the

State of Arkansas with its principal place of business in Arkansas. Walmart Inc. is the sole owner

of Wal-Mart Stores East, LLC. Walmart Inc. is a Delaware Corporation with its principal place of

business in Arkansas. The Fifth Circuit has also previously recognized Wal-Mart Stores Inc. is a

citizen of Delaware with its principal place of business in Arkansas. Gebbia v. Wal-Mart Stores,

Inc., 233 F.3d 880 (5th Cir. 2000). Accordingly, for diversity purposes, Wal-Mart is a citizen of

Delaware or Arkansas.

          9.    There is and has been at all times relevant to this Notice of Removal, complete

diversity of citizenship between Plaintiff and Defendant.

          10.   Upon information and belief, the amount in controversy exceeds the jurisdictional

requirement of $75,000, exclusive of interest and costs. Plaintiff alleges she suffered injuries to

various parts of her body. See Plaintiff’s Original Petition p. 3. Plaintiff seeks damages for

medical care and expenses past and future, severe physical and mental pain, suffering and anguish

past and future, diminished ability to administer to her own needs and the needs of her family past

and future, and impairment past and future. Id. at pp. 3-4. Plaintiff’s Petition seeks monetary

relief over $100,000. Id. at p. 1. The sum claimed by Plaintiff should control the evaluation of

amount in controversy. It is facially apparent from the Plaintiff’s Petition that the Plaintiff’s claims

are likely to exceed $75,000 in damages, exclusive of interest and costs.

          11.   In an effort to confirm the amount in controversy, Wal-Mart sent correspondence

to Plaintiff’s counsel on November 25, 2020 requesting Plaintiff stipulate she is seeking damages


NOTICE OF REMOVAL                                                                                PAGE 3
418888
         Case 4:20-cv-01320-Y Document 1 Filed 12/10/20                Page 4 of 6 PageID 4



less than $75,000 in damages, exclusive of interest and costs. On December 3, 2020, counsel for

Defendant left a voice mail and sent an email to Plaintiff’s counsel, and again left a voice mail on

December 7, 2020, with no response regarding Defendant’s request that Plaintiff stipulate to the

amount of her alleged damages. Thus, there is a presumption that the amount in controversy in

this case exceeds $75,000 exclusive of interest and costs. Heitman v. State Farm Mut. Auto. Ins.

Co., No. 5:02-CV-0433-D, 2002 U.S. Dist. LEXIS 6192 (N.D. Tex. April. 9, 2002).

                     V.     THIS NOTICE IS PROCEDURALLY CORRECT

          12.   This action may be removed to this Court pursuant to 28 U.S.C. § 1441(b), because

Defendant is not a citizen of Texas, the state in which the action was brought. This action is

removable to this Court and venue is proper because this United States District Court and Division

embraces the place where the State Court Action was pending. 28 U.S.C. §§ 124(a)(1), 1441(a).

          13.   Wal-Mart has attached to this Notice of Removal the documents required by 28

U.S.C. § 1446(a) and Local Rule 81.1 as follows:

                A:        Index of all documents filed in the State Court Action.

                B:        Docket Sheet in the State Court Action.

                C:        Copies of all process, pleadings and orders filed in State Court.

                D:        Signed Certificate of Interested Persons.

          14.   Wal-Mart is filing with the Notice of Removal a completed Civil Cover Sheet, a

Supplemental Civil Cover Sheet, and separate Certificate of Interested Persons.

          15.   Wal-Mart retains the right to supplement the jurisdictional allegations by affidavit,

declaration, or otherwise should Plaintiff challenge the allegations in a motion to remand or other

filing.




NOTICE OF REMOVAL                                                                             PAGE 4
418888
         Case 4:20-cv-01320-Y Document 1 Filed 12/10/20              Page 5 of 6 PageID 5



          16.   In accordance with 28 U.S.C. § 1446(d), written notice of the filing of this Notice

of Removal will be given to all parties and to the Clerk of the 348th District Court of Tarrant

County, Texas

          17.   Plaintiff has not demanded a jury trial in the State Court Action. Defendant has

demanded a jury trial in the State Action.

          18.   Trial has not commenced in the 348th District Court of Tarrant County, Texas.

                                      V.      CONCLUSION

          19.   Since diversity jurisdiction exists over Plaintiff’s claim as set forth in Plaintiff’s

Original Petition and the amount in controversy exceeds $75,000 exclusive of interest and costs,

Defendant desires and is entitled to remove the lawsuit filed in the 348th District Court of Tarrant

County, Texas to the United States District Court for the Northern District of Texas, Fort Worth

Division.

          WHEREFORE, PREMISES CONSIDERED, Defendant Wal-Mart Stores, Inc.,

pursuant to and in conformance with the statutory requirements, removes this action from the 348 th

District Court of Tarrant County, Texas, to this Court.

                                                 Respectfully submitted,



                                                 By:            /s/ Bevan Rhine
                                                          BEVAN RHINE
                                                          Texas Bar No. 24036265
                                                          brhine@cobbmartinez.com

                                                 COBB MARTINEZ WOODWARD PLLC
                                                 1700 Pacific Avenue, Suite 3100
                                                 Dallas, TX 75201
                                                 (214) 220-5208 (direct phone)
                                                 (214) 220-5258 (direct fax)

                                                 ATTORNEYS FOR DEFENDANT



NOTICE OF REMOVAL                                                                              PAGE 5
418888
         Case 4:20-cv-01320-Y Document 1 Filed 12/10/20              Page 6 of 6 PageID 6




                                 CERTIFICATE OF SERVICE

        I certify a true and correct copy of this document has been forwarded to the following
counsel for Plaintiff either by e-service, telefax, electronic mail, and/or regular U.S. mail on this
10th day of December, 2020:

          Dan Morales
          R.E. Lopez & Morales
          550 East 15th Street, Suite 200
          Plano, TX 75074
          469.209.7727 / fax 888.601.4934
          service@northtxlaw.com

                                                   /s/ Bevan Rhine
                                                BEVAN RHINE




NOTICE OF REMOVAL                                                                             PAGE 6
418888
